                        Case 8:19-bk-00472-MGW              Doc 29      Filed 06/13/19      Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                06/13/2019 09:30 AM
                                                                COURTROOM 8A
HONORABLE MICHAEL WILLIAMSON
CASE NUMBER:                                                    FILING DATE:
8:19-bk-00472-MGW                         7                       01/18/2019
Chapter 7
DEBTOR:                Elsa Sosa


DEBTOR ATTY:           Jorge Acosta
TRUSTEE:               Carolyn Chaney
HEARING:
Motion For Sanctions for Violation of the Automatic Stay under 11 U.S.C. Sec. 362. Filed by Richard M Dauval on behalf of
                      Trustee Carolyn R. Chaney Doc. 27


APPEARANCES::
Richard Dauval for Trustee
WITNESSES:

EVIDENCE:

RULING:
Motion For Sanctions for Violation of the Automatic Stay under 11 U.S.C. Sec. 362. Filed by Richard M Dauval on behalf of
Trustee Carolyn R. Chaney Doc. 27 - Granted, ltd. extent; Ct. reserves Juris. to enforce, order by Dauval
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                  Case Number 8:19-bk-00472-MGW                       Chapter 7
